Case 2:03-Cr-20119-BBD Document 84 Filed 04/25/05 Page 1 of 2 Page|D 88

 

 

 

(Rev. 3¢88)
UNITED S'I`ATES I)ISTRICT COURT § §
for :ji
253
WESTERN DISTRICT OF TENNESSEE ;E" §§
U. s. A. vs. wvniie walls pocket No. 2511 ' cmoii9-0i
ea,-=o '
Petition on Probation and Supervised Release
COMES NOW Brenda L. Caroten PROBATI()N OFFICER OF THE C()URT presenting an

 

official report upon the conduct and attitude of Wygile Walls who was placed on supervision by the Honorable
U.S. District Court Judge Bernice B. Donald sitting in the Court at Memphis, TN on the_l_ch_day of March,
2004, who fixed the period of supervision at three 3 ears , and imposed the general terms and conditions
theretofore adopted by the Court and also imposed Special Conditioris and terms as follows:

 

 

l. The defendant shall pay restitution in the amount of $2,500.00. (Balance $2,500.00)

2. The defendant shall provide the probation office access to any requested financial information

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS'.

After reviewing the offender’s monthly income and necessary living expenses, it appears that fifty ($50.00) dollars
per month is an appropriate payment plan. Please note that Mr. Wails is currently paying $50.00 per month toward
his special assessment Once he satisfies the court ordered special assessment (balance $275.00), his payments will
be applied toward the restitution obligation

PRAYING THAT THE COUR'I` WILL ORDER that Wynile Walls’ restitution payments be set at fifty ($50.00)
dollars per month.

 

ORDER OF COURT Respectfully,
Considered and ord/ered this 2 2’_ day (/:B%.QM,A {£/ -/
ofag»¢€_, 20 0 § and ordered filed Brenda L. Carpten /%
and made a part of the records in the above United States Probation Ofticer

Place Memohis. Tennessee

 

Unite States District Judge Date Apri121_ 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 iii
case 2:03-CR-201 19 was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

